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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION




  HANSHOW TECHNOLOGY CO., LTD. AND             )
  SHANGHAI HANSHI INFORMATION                  )
  TECHNOLOGY CO., LTD.                         )   Case No. 2:23-cv-00617-RWS-RSP
                                               )
                   Plaintiffs,                 )
                                               )
             v.                                )
                                               )
  SES-IMAGOTAG SA, SES-IMAGOTAG GMBH           )
  AND CAPTANA GMBH                             )
                 Defendants.


        PLAINTIFFS’ SUR-REPLY IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS COMPLAINT PURSUANT TO
                             FED. R. CIV. P. 12(B)(2)
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 I.     INTRODUCTION

        Plaintiffs have established that this Court has personal jurisdiction over VusionGroup

 GmbH and Captana GmbH (collectively, “Moving Defendants”). Despite this, Moving

 Defendants’ Reply (Dkt. No. 51) makes broad, sweeping assertions that Plaintiffs have no

 evidence supporting personal jurisdiction and that Moving Defendants should be dismissed from

 the case. Moving Defendants are incorrect.

        The evidence establishes that




                                                                                             . The law

 governing personal jurisdiction does not require a foreign entity

                                                                     for personal jurisdiction to exist.

 Personal jurisdiction is proper in Texas.

        Further, even if there were questions of fact remaining, on a motion to dismiss for lack of

 personal jurisdiction, the district court must accept uncontroverted allegations in plaintiff's

 complaint as true and resolve any factual conflicts in plaintiff's favor. Electronics For Imaging,

 Inc. v. Coyle, 340 F.3d 1344 (Fed. Cir. 2003). As established in Plaintiffs’ well-pled Complaint,

 this Court has personal jurisdiction over Moving Defendants.
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 II.      MOVING DEFENDANTS HAVE MINIMUM CONTACTS WITH THE UNITED
          STATES AND TEXAS

          Plaintiffs have provided ample evidence that Moving Defendants have

                                          and Moving Defendants’ assertions to the contrary are

 disingenuous. See, e.g., Dkt. No. 51 at 2. Uncontroverted evidence establishes that

                                                                           See Dkt. No. 49-8.




                             Dkt No. 49-1 at 41:4–12, 50:12–17; Ex. 1 (Rallu Dep.) at 14:23-16:10.

 While Moving Defendants assert this does not establish minimum contacts, their arguments lack

 merit.

          For example, Moving Defendants repeatedly emphasize that



                                   Dkt. No. 51 at 2. These statements paint an incomplete picture

 of                  and are also irrelevant under the law. First, Moving Defendants ignore that,




                    Dkt. No. 49-1 at 51:13–20; see also Dkt Nos. 49-8, 49-2.

          Second, that Moving Defendants are

                               is of no moment. It is well-established that “a foreign company need

 not itself sell the accused goods in the forum” or “manufacture the accused goods” in the forum to

 establish personal jurisdiction. AX Wireless LLC v. Lenovo Group Ltd., 2023 WL 7105701, *3

 (E.D. Tex. Sep. 6, 2023). Similarly, jurisdiction “‘does not depend on the technicalities of when

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 title passes;’ rather, jurisdiction may attach both to manufacturers who supply their own delivery

 systems and to those that make use of the distribution systems of third parties.” Luv N’ care, Ltd.

 v. Insta-Mix, Inc., 438 F.3d 465, 471 (5th Cir. 2005). 1 Further, even where, as here, there is a

 domestic distributor, the “domestic distributor ... need not be a named defendant in the case for

 personal jurisdiction over the foreign defendant.” AX Wireless LLC, 2023 WL 7105701 at *3;

 Orange Electronic Co. Ltd., 2022 WL 4368160 at *1.

        Moving Defendants also try to



                                                                           Dkt. No. 49-4 at 7.




                                                                . Id. Further, Moving Defendants fail

 to recognize that



                                                                                              Ex. 1 at

 14:23–16:10.



          Id. at 18:15–22.




        Moving Defendants also assert that



 1
   While the Court applies Federal Circuit law in patent cases to evaluate whether personal
 jurisdiction exists, “the Fifth Circuit relies on the same analysis as the Federal Circuit in deciding
 whether personal jurisdiction exists.” Orange Electronic Co. Ltd., 2022 WL 4368160 at *1.
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                                                                                                     .

 Dkt. No. 51 at 3. But




                                                       Ex. 1 at 19:14–18, 19:23–20:14, 20:21–25.

 None of these points is disputed and



                                                                         .

        Further, with respect to Texas, Moving Defendants do not dispute that



                                                        . Dkt. 49 at 10; see generally Dkt. No. 51.

 Moving Defendants also do not dispute that



                                                             Dkt. No. 51 at 3.

        Moving Defendants also do not dispute that

                   Dkt. 49-4 at 9. While Moving Defendants argue the evidence does not establish

 that




                                . See Beverly Hills, 21 F.3d at 1566. Second, it defies logic that




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 “mere placement into the stream of commerce is sufficient to establish jurisdiction.” 2 Celgard,

 LLC v. SK Innovation Co., 792 F.3d 1373, 1381 (Fed. Cir. 2015).

        Plaintiffs also make the required showing under the other stream of commerce theory test,

 which further requires “‘an action of the defendant purposefully directed toward the forum State.’”

 Beverly Hills, 21 F.3d at 1566 (citing Asahi, 480 U.S. at 112) (emphasis in original). As outlined

 in Plaintiff’s Opposition,




                                              . See Dkt. No. 49 at 12.

        Further,




                              . Dkt Nos. 49-4 at 6–7; 49-3 at 40:23–41:13; 49-1 at 47:12–14, 51:13–

 20.



                                      . Dkt. Nos. 49-1 at 61:15–21, 66:12–25; 49-4 at 7, 12–13; 49-

 3 at 9:15–10:1; Ex. 1 at 27:5–23. Further,



                                              See, e.g., Dkt. No. 49-3 at 47:1–20, 48:5–20; Dkt. No.

 49-11; Ex. 2. This is more than enough to establish personal jurisdiction under the second stream

 of commerce theory.




 2
  Moving Defendants’ argument that intent is required is based on a party’s arguments in
 Celgard, not the Federal Circuit’s articulation of the two stream of commerce theory tests.
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         VusionGroup GmbH is also



                                                                            . Dkt. Nos. 49-1 at 49:12–

  14, 50:9–11, 80:6–17; 49 at 3–4.




  Dkt. Nos. 49-1 at 63:4–10; 49-4 at 12–13. This again is sufficient to establish personal jurisdiction

  under the second stream of commerce theory.

         In arguing personal jurisdiction is improper, Moving Defendants manufacture the

  additional requirements that Moving Defendants be physically located in the United States or

  Texas, or sell or manufacture the Accused Products there. See, e.g., Dkt. No. 51 at 1–2. But these

  are not requirements for personal jurisdiction. As discussed above, a foreign company does not

  itself need to sell or manufacture the accused goods in the forum to establish personal jurisdiction.

  AX Wireless LLC, 2023 WL 7105701, *3. Similarly, jurisdiction does not depend on when title

  passes. Luv N’ care, Ltd., 438 F.3d at 471. Further, even where there is a domestic distributor,

  personal jurisdiction can exist over the foreign defendant even if the domestic distributor is not

  named. AX Wireless LLC, 2023 WL 7105701 at *3; Orange Electronic Co. Ltd., 2022 WL

  4368160 at *1. Additionally, and contrary to Moving Defendants’ assertion, there is no need for

  destination-identifying invoices for establishing personal jurisdiction. Luv N’ care, Ltd., 438 F.3d

  at 471. As the Court in Luv N’ care stated, “mere foreseeability or awareness [is] a constitutionally

  sufficient basis for personal jurisdiction if the defendant’s product made its way into the forum

  state while still in the stream of commerce.” Id., 438 F.3d at 470.

         At base, a defendant does not need to manufacture, sell, or import, the Accused Products


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  in or into the United States for personal jurisdiction to be proper. See Dkt. No. 49 at 5–7. Instead,




                                                                . Beverly Hills, 21 F.3d at 1566.

          B.      Plaintiffs’ Patent Infringement Claims Arise Out of or Relate to Those
                  Activities

          Moving Defendants incorrectly state that Plaintiffs’ Opposition does not discuss whether

  Moving Defendants’                                   “arise out of or relate to” plaintiffs’ infringement

  claims. Dkt. No. 51 at 6–7. As Plaintiffs explained in their Opposition,

                                                            Dkt. No. 49 at 16. For example,



                                                                                                  Id. The

  importation, offer for sale, and sale of these Accused Products are central to Plaintiffs’ patent

  infringement claims. Id. This is enough to confer personal jurisdiction. Luv N’ care, Ltd., 438 F.3d

  at 473 (finding claim “for infringement from the same bottle that traveled through the stream of

  commerce from Colorado to Louisiana” was “sufficient to confer personal jurisdiction.”).

          Moving Defendants assert that




                                                              Dkt. No. 51 at 7–8. These assertions are

  legally and factually flawed. First, Moving Defendants provide no legal support for the assertion

  that Plaintiffs must establish that

  enters the stream of commerce together. Id. Nor would such a requirement make sense, especially,

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  as here,                                                                                   . See Dkt.

  No. 49-5.

         Second, Plaintiffs do not need to prove direct infringement for the purposes of establishing

  personal jurisdiction. Plaintiffs need only prove that Moving Defendants’

        “arise out of or relate to” plaintiffs’ infringement claims. Here, the infringement claims are

  based on the use of the Captana Accused Products and VUSION ESLs, which VusionGroup itself

  advertises as being used together in practice. See, e.g., Ex. 3; see also Dkt Nos. 1-8; 1-9. Moving

  Defendants’



                                                                                         .

         C.      Personal Jurisdiction Over Moving Defendants Would Not Offend
                 Traditional Notices of Fair Play and Substantial Justice.

         As established in Plaintiffs’ Opposition, exercising personal jurisdiction over Moving

  Defendants would not offend traditional notices of fair play and substantial justice. Dkt. No. 49 at

  14–17. While Moving Defendants argue otherwise, Moving Defendants’ Reply does not analyze

  the five factors used to assess whether exercising specific jurisdiction is unfair or unreasonable.

  See id. at 15; Dkt. No. 51 at 8–9. Instead, Moving Defendants make the sweeping accusation that

  Plaintiffs are simply engaging in venue manipulation, then go on to argue that Moving Defendants’

  contacts with the United States and Texas are unrelated to the infringement allegations and that

  Moving Defendants are not necessary in this case. Dkt. No. 51 at 8–9.

         All are incorrect. First, as discussed above, there is no requirement that a “domestic

  distributor ... be a named defendant in the case for personal jurisdiction over the foreign

  defendant.” AX Wireless LLC, 2023 WL 7105701 at *3; see also Orange Electronic Co. Ltd., 2022

  WL 4368160 at *1. Second, as discussed above and in Plaintiffs’ Opposition,

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              . See Dkt. No. 49 at 11–14. Third,

                                                        Thus, Texas has an interest in furthering social

  policies and ensuring that patent laws are obeyed. Id. at 14–20.

  VI.    PERSONAL JURISDICTION CAN BE ESTABLISHED UNDER FED. R. CIV.
         P. 4(k)(2)

         Moving Defendants’ only argument against jurisdiction under Fed. R. Civ. P. 4(k)(2) is

  that Moving Defendants do not have minimum contacts with the United States. They do.

         As discussed above, the uncontroverted evidence establishes that (




                                             Id. at 11–14. Further, as discussed above, Plaintiffs’

  infringement claims are based on the sale, offer for sale, and/or use of the Accused Products in the

  United States. Id. at 16; See also Dkt Nos. 1-8, 1-9. That establishes that Moving Defendants’

                                   are tied to the infringement allegations. Thus, personal jurisdiction

  is proper under Fed. R. Civ. P. 4(k)(2).

  VII.   VUSIONGROUP GMBH WAIVED PERSONAL JURISDICTION

         Moving Defendants continue to ignore that the VUSION ESLs at issue in this case are also

  at issue in Hanshow I. As VusionGroup GmbH’s consenting to personal jurisdiction being proper

  over the VUSION ESLs there supports a finding that jurisdiction is proper here.

  VIII. CONCLUSION

         For the above reasons, and as established in the Complaint and Plaintiffs’ Opposition,

  Plaintiffs respectfully request that the Court deny Moving Defendants’ Motion.


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  Dated: August 13, 2024                       Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

  compliance with Local Rules and served on all counsel of record via electronic means. Therefore,

  this document was served on all counsel who are deemed to have consented to electronic service

  on August 13, 2024.


                                                      /s/ Boyd Cloern
                                                      Boyd Cloern



                        CERTIFICATE OF AUTHORIZATION TO SEAL

         Pursuant to Local Rule CV-5(a)(7)(B), the undersigned certifies that the foregoing

  document and following attachments are permitted to be filed under seal pursuant to the Protective

  Order (Dkt. No. 41) governing this case.

                                                      /s/ Boyd Cloern
                                                      Boyd Cloern




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